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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

BERT BERLANGER, in his capacity as               )
Receiver for SWINGLE                             )
ENTERPRISES, LLC, d/b/a                          )
LAKEHURST APARTMENTS, an                         )
Oklahoma limited liability company,              )       CASE NO. CIV-18-314-D
                                                 )
       Plaintiff,                                )       Removed from the District
                                                 )       Court of Oklahoma County,
v.                                               )       Case No. CJ-2018-938
                                                 )       Hon. Aletia Haynes Timmons
PELEUS INSURANCE COMPANY, a                      )
foreign insurance company,                       )
                                                 )
       Defendant.


                                  NOTICE OF REMOVAL
         Pursuant to 28 U.S.C. § 1441 and § 1446 and LcvR 81.2, Defendant Peleus

 Insurance Company (“Peleus”) hereby files this Notice of Removal. In support of this

 Notice of Removal, Defendant Peleus states the following:

       1.      Plaintiff brought an action against Defendant Peleus in Case No. CJ-2018-

938, filed in the District Court of Oklahoma County, State of Oklahoma, styled Bert

Berlanger, in his capacity as receiver for Swingle Enterprises, LLC, d/b/a Lakehurst

Apartments v. Peleus Insurance Company.

       2.      This Court has jurisdiction over this lawsuit pursuant to 28 U.S.C. § 1332,

and this lawsuit is one which may be removed to this Court by Defendant Peleus pursuant

to the provisions of 28 U.S.C. § 1441.




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       3.      Complete diversity of citizenship exists between Plaintiff and Defendant

Peleus. For purposes of removal, the citizenship of the receiver governs for determining

diversity jurisdiction. See, e.g., Crawford v. Employers Reinsurance Corporation, 896

F.Supp. 1101 (W.D. Okla. 1995). Bert Berlanger, Receiver for Swingle Enterprises, LLC

d/b/a Lakehurst Apartments is a citizen of Oklahoma, where he resides. Defendant Peleus

is an insurance company incorporated in the State of Virginia with its principal place of

business in Virginia and is thus a citizen of Virginia for diversity jurisdiction purposes.

Because Plaintiff is a citizen of Oklahoma and Peleus is a citizen of Virginia, there is

complete diversity between the parties for purposes of this Court’s diversity jurisdiction.

       4.      In its Petition, filed on February 15, 2018, Plaintiff seeks damages in excess

of $75,000.00, exclusive of interests and costs, which is in excess of the amount required

for diversity jurisdiction pursuant to Title 28 Section 1332 of the United States Code.

       5.      Removal is appropriate in this matter because complete diversity exists

between Plaintiff and the Defendant and Plaintiff seeks damages in excess of $75,000.00,

as required by 28 U.S.C. § 1332.

       6.      This Notice of Removal is timely filed under the provisions of 28 U.S.C.

§ 1446(b), in that it is filed within thirty (30) days after the Defendant Peleus was served

with process, including summons and a copy of the Petition, on March 8, 2018.

       7.      Pursuant to 28 U.S.C. § 1446 and LcvR 81.2, copies of all process,

pleadings, and orders served upon Defendant Peleus, together with a copy of the docket

sheet from the District Court of Oklahoma County, are attached hereto as Exhibits 1

through 7.


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       8.      Defendant Peleus states that no motions are pending before the state court

at the time of removal.

       9.      Contemporaneously with this filing, Defendant Peleus served a Notice of

Filing Notice of Removal on Plaintiff’s counsel and the Court Clerk of the District Court

of Oklahoma County.

       WHEREFORE, premises considered, Defendant Peleus respectfully requests that

this Court remove the instant case from the District Court of Oklahoma County, State of

Oklahoma, to the District Court of the United States for the Western District of

Oklahoma.



                                               Respectfully submitted,


                                               By: /s/ C. William Threlkeld
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                                               COUNSEL FOR DEFENDANT PELEUS
                                               INSURANCE COMPANY




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                                CERTIFICATE OF SERVICE

       This will certify that on the 6th day of April, 2018, I electronically transmitted the

foregoing to the Clerk of the Court using ECF System for filing. Based on the electronic

records currently on file, the Clerk of the Court will transmit a Notice of Electronic Filing

to the following recipients:


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                                                         /s/ C. William Threlkeld
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